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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
TEXARKANA DIVISION

 

 

MARELL, LTD. ae
| Plaintiff, Case No. 5:16-ev-00179-RWS
V. |
ZTE (USA) INC.,

Defendant.

 

 

VERDICT FORM

In answering these questions, you are to follow all of the instructions I have
given in the Final Jury Instructions. Your answers to each question must be
unanimous. In this verdict form, “Maxell” refers to Maxell, Ltd. and ZTE refers to
ZTE (USA) Inc. As used below, the °193 patent refers to U.S. Patent No. 6,408,193;
the ’317 patent refers to U.S. Patent No. 6,748,317; the ’493 patent refers to US.
Patent No. 8,339,493; the ’729 patent refers to U.S. Patent No. 8,736,729; the °49]
patent refers to U.S. Patent No. 6,816,491; the ’695 patent refers to U.S. Patent No.

8,098,695; and the ’794 patent refers to U.S. Patent No. 6,329,794,
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1A. Did Maxell prove by a preponderance of the evidence that ZTE (USA)

Inc. infringes the following claims of the following patents?

 

 

°317 Patent: Answer “Yes” or “No” for the ZMax 2 with pre-installed AT&T
Navigator, which is representative of the ’317 Accused Products.

Claim 1: UES
Claim 2: UES
Claim 3: u AS

°794 Patent: Answer “Yes” or “No” for the ZMax 2, which is representative of
the °794 Accused Products.

Claim 1: yes
Claim 2: UEs

"193 Patent: Answer “Yes” or “No” for the ZMax 2, which is representative of
the °193 Accused Products,

Claim |: Yes

"491 Patent: Answer “Yes” or “No” for the ZMax 2, which is representative of
the 491 Accused Products, except for the Axon 7,

Claim 1: yes

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Claim 8: Ucs

 

~oor e249 Patent:—-Answer'“Yes”-or “No” -for'the-Axon-7- only:

Claim 1: Yes
Claim 8: YES

7695 Patent: Answer “Yes” or “No” for the ZMax 2, which is representative of
the °695 Accused Products, except for the Axon 7.

Claim 1: UES
695 Patent: Answer “Yes” or “No” for the Axon 7 only.
Claim 1: UES

°493 Patent: Answer “Yes” or “No” for the Max Duo LTE, which is representative
of the °493 Accused Products, except for the Axon 7.

Claim 5: Yes

2493 Patent: Answer “Yes” or “No” for the Axon 7 only,

Claim 5: WES

729 Patent: Answer “Yes” or “No” for the Max Duo LTE, which is representative
. of the ’729 Accused Products, except for the Axon 7.

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Claim 1: UCS

°729 Patent: Answer “Yes” or “No” for the Axon 7 only.

Claim 1: Wes

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If you have answered “Yes” regarding a claim in question 1A, then continue

to answer “Yes” or “No” for that same claim in section 1B. If you answered

 

oo NO” regarding a-claim in question 1A, then skip this question-in question 1B———

for that claim.

1B. Did Maxell prove by a preponderance of the evidence that ZTE (USA)

Inc.’s infringement, if any, was willful?

°317 Patent: Answer “Yes” or “No” for the °317 Patent.

Claim 1: WES.
Claim 2: u es
Claim 3: u cs

794 Patent: Answer “Yes” or “No” for the ’794 Patent.

Claim 1: Wes
Claim 2: WYUcS

193 Patent: Answer “Yes” or “No” for the ’193 Patent.
Claim 1: ues
2491 Patent: Answer “Yes” or “No” for the ’491 Patent.

Claim 1: WES

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Claim 8: UCS

 

°695 Patent: Answer “Yes” or “No” for the *695 Patent.
Claim 1:4 Jes

°493 Patent: Answer “Yes” or “No” for the °493Patent.
Claim 5: WES

"729 Patent: Answer “Yes” or “No” for the °729 Patent.

Claim 1: UES

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3. Did ZTE prove by clear and convincing evidence that the following

listed claims of the following patents are invalid?

 

wooo POU find the claim invalid, answer “Yes;” otherwise; answer “No? rrr

°317 Patent:

 

 

Claim 1: No
Claim 2: NO

Claim3: 0=oWoO
*193 Patent:

Claim 1: mo

4, Did ZTE prove by clear and convincing evidence that the claim
elements of the following claims in the ‘317 patent were well-understood,
routine, and conventional to a person of ordinary skill in the art as of July 12,
1999?

Answer “Yes” or “No.”

 

 

 

°317 Patent:
Claim 1: 4 es |
Claim2: Yes
Claim 3: u es

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‘

5. Did ZTE prove by clear and convincing evidence that the claim
elements of the following claims in the ‘794 patent were well-understood,

 

routine, and conventional to a person of ordinary skill in the art as of May:22,

 

 

O00 e
Answer “Yes” or “No.”
°794 Patent:

Claim 1: vy CS
Claim 2: U es

 

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6. | Whatsum of money, if paid in cash, do you find from a preponderance

of the evidence would fairly and reasonably compensate Maxell for ZTE

 

~""(USA) Ines infringement of any patent claim that is not invalid, Wfany? "oo

Answer with the amount: § 43.4 million

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You have now reached the end of the verdict form and should review it to
ensure it accurately reflects your unanimous determinations. The jury foreperson
should then sign and date the verdict form in the spaces below and notify the Court

 

 

~ Security Officer-that you have reached -a verdict. “The jury foreperson-should-retain-———— woe

possession of the verdict form and bring it when the jury is brought back into the
courtroom,

Signed this 2A day of _\UANe , 2018.

Jury —

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